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                           Exhibit H
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                                    THE VIRGIN ISLANDS
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Vol. XLIV,
     XLIV, No. 53                             ROAD TOWN, TORTOLA                              FRIDAY 27 AUGUST
                                                                                                        AUGUST 2010

                                                 EXTRAORDINARY
                                                 EXTRAORDINARY


                                                    CONTENTS
                     GOVERNMENT                                            Patent . . . . . . . . . . . . . . . . . . . . . . . . . None
   Supplements                                                             Company . . . . . . . . . . . . . . . . . . . . . . 2690
   Statutory Instruments . . . . . . . . . . . . . . . . . None            Other . . . . . . . . . . . . . . . . . . . . . . . . . None
   Statutory Appointments . . . . . . . . . . . . . . None
   Court Notices . . . . . . . . . . . . . . . . . . . . . . . None                                 COMMERCIAL
   Land Notices . . . . . . . . . . . . . . . . . . . . . . . None         Liquidation
                   Notices . . . . . . . . . . . . . . . . None
   Public Service Notices.                                                 Appointment of Liquidator . . . . . . . . . None
   Departmental Notices . . . . . . . . . . . . . . . . . None             Dissolution Notices . . . . . . . . . . . . . . . None
                                                                           Other . . . . . . . . . . . . . . . . . . . . . . . . . . None
                         STATUTORY                                         Insurance . . . . . . . . . . . . . . . . . . . . . . None
   Trademark . . . . . . . . . . . . . . . . . . . . . . . . . None        Other . . . . . . . . . . . . . . . . . . . . . . . . . . None



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    The Virgin Islands Official Gazette is the official                Notices will be returned unpublished if not submitted
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                                      STATUTORY
                                     Company Notices
12302 In accordance with Section 213(5) of the BVI Business Companies Act, 2004 following is a list of
                                                     31st May, 2010;
Companies stricken from the Register of Companies on 31st

 Company      Company Name
 No.
 85           BAKA LTD.
 1010         GIBRALTAR MANAGEMENT COMPANY LIMITED
 1166         GOLDEN RAY INTERNATIONAL LIMITED
 1251
 1251         PAN ASIAN LIMITED
 1996         BOND INTERNATIONAL LIMITED
 2075         ANTHYCCO INTERNATIONAL LTD.
 2080         AKKEL HOLDINGS LIMITED
 2166         BALTIC LIMITED
 2249         INDUSTRIAL PACKAGING SYSTEMS LIMITED
 2366         KITTIHAWK SECURITIES LIMITED
 2465         OCEANIC COMPLEX, INC.
 2505         EMPIRE INVESTMENTS LTD.
 2634         REPTON HOLDINGS LTD.
 3560         IEE INVESTMENTS LIMITED
 3761
 3761         GALADRIEL LTD.
 3967         BYRON PROPERTIES LIMITED
 4248         ESHLER HOLDINGS LIMITED
 4284         MAYQUEEN INVESTMENTS SA INC.
 4588         MARJORAM LIMITED
 8262         AYZO SOUTH EAST ASIA HOLDINGS INC.
 8263         FLIXIR COMPANY LIMITED
 8336         BEAUREGARD S.A.
 8400         BROCKHAM FINANCE INC.
 8418         A.F.A.I. CORPORATION
 8438         INDEPENDENT FEATURE FILMS LIMITED
 8525         INTERNATIONAL MINES CORPORATION
 8529         BARTOK HOLDINGS, INC.
 8648         BAKER INVESTMENT LTD.
 8870         WARDOUR CONSULTANTS LIMITED
 8978         WILDLIFE PROPERTIES CORPORATION
 9023         GREAT SUCCESS LIMITED
 9061
 9061         Marvellous Profit (PTC) Limited
 9192         VIRGIN INTERNATIONAL SPORTS PROMOTIONS INC.
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243013    ROGLO INVESTMENTS CORPORATION
243042    DROMEDA FINANCE LTD.
243085    ANDORINHA COMPANY LIMITED
243325    GLORY DRAGON PROFITS LIMITED
243338    VENTURE DRAGON LIMITED
243437    VIANNA DEVELOPMENT LIMITED
243464    WESTFIELD COMMERCIAL INC.
243484    NORDIC FINANCE COMPANY SERVICES LIMITED
243487    MILLION CHINA HOLDINGS LIMITED
243576    GLOBAL ELECTRONIC DISTRIBUTION COMPANY LIMITED
243600    COOKIES LTD.
243736    MIGNONETTE INVESTMENTS LIMITED
243799    INFINITY HOLDINGS GROUP INC.
243986    WHIRLIGIG LIMITED
244008    TRUELEX HOLDINGS LIMITED
244060    PROFIT UNION LIMITED
244118    PEACEFUL UNION LIMITED
244157    TELECOMMUNICATION SERVICE CONSULTING LIMITED
244221
244221    ATMOSPHERE CORPORATION
244248    DATA ONE (B.V.I.) CO., LTD.
244273    CASETEK (B.V.I.) CO., LTD.
244572    SMART LINK CONSULTANTS LIMITED
244770    COMMERCIAL INTEREST ENTERPRISES LIMITED
244781
244781    OCEAN LEISURE ENTERPRISES LIMITED
244782    OCEAN NAVIGATOR LIMITED
244793    BOLD CREATIVITY LIMITED
244869    GARDENGROVE INTERNATIONAL CO. LTD.
244887    PORTCULLIS INVESTMENT ADVISERS HOLDINGS LTD
244893    VERMILLION VELVET LIMITED
244928    SILVER BRIDGE GROUP LIMITED
244950    BYRON FINANCIAL CORP.
244953    BLUEFIELD FINANCIAL CORP.
244971
244971    STARFIELD CONSULTANTS LTD.
245033    THE DAUFUSKIE COMPANY LIMITED
245042    GLOBAL STRATEGIC HOLDINGS LIMITED
245168    JONNIS TRADING LTD.
245218    BENTWICK INTERNATIONAL LIMITED
245283    CRANBORNE SERVICES LIMITED
245333    NORTON INTERNATIONAL INVESTMENT CORPORATION
245334    WISTOW MANAGEMENT LIMITED
245350    SHELLBROOK PROPERTIES CORP.
